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 11
                      UNITED STATES DISTRICT COURT
 12
                    CENTRAL DISTRICT OF CALIFORNIA
 13
      NEOFONIE GMBH, a German
 14   corporation,                          Case No.: 8:17-cv-00772 CJC
 15                                         (JDEx)
 16               Plaintiff,
                                            DEFENDANT/COUNTER-
 17   vs.                                   PLAINTIFF’S REPLY
 18                                         MEMORANDUM OF POINTS
      ARTISSIMO DESIGNS LLC, a              AND AUTHORITIES IN
 19   Delaware limited liability company,   SUPPORT OF ITS MOTION IN
 20                                         LIMINE TO EXCLUDE EXPERT
                  Defendant.                TESTIMONY OF ALI
 21                                         KHOSHGAZARAN, PH.D
 22   ARTISSIMO DESIGNS LLC,
                                            Hearing Date: January 14, 2019
 23                                         Hearing Time: 3:00pm
                  Counter-Plaintiff.
 24                                         Courtroom: 7C

 25   vs.
                                            The Honorable Cormac J. Carney
 26   NEOFONIE GMBH
 27
                  Counter-Defendant.
 28
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 1                              I.    INTRODUCTION
 2             Pursuant to L.R. 7-10, Defendant/Counter-Plaintiff Artissimo
 3    Designs LLC (“Artissimo”) respectfully submits this Reply Memorandum
 4    of Points and Authorities, and three accompanying exhibits,1 in support of
 5    its Motion to Exclude Expert Testimony of Ali Khoshgazaran, Ph.D. (the
 6    “Motion”), the proposed expert witness of Plaintiff/Counter-Defendant
 7    Neofonie GMBH (“Neofonie”). As explained below, Neofonie has failed
 8    to show that any of Dr. Khoshgazaran’s proffered opinions are reliable,
 9    helpful to the trier of fact, and the proper subject of expert testimony. Dr.
10    Khoshgazaran’s opinions should be excluded for failing to meet these
11    prerequisites alone.
12             Furthermore, Dr. Khoshgazaran’s opinions should be excluded to the
13    extent that they are based on documents Neofonie has not produced.
14    Artissimo’s Motion showed and Neofonie has admitted that Artissimo
15    requested these documents and Neofonie did not produce them. Artissimo
16    was entitled to seek such documents from Neofonie to the extent that they
17    were in Neofonie’s possession, custody, or control, and Neofonie has
18    refused to satisfy its obligation to participate in discovery and produce the
19    documents. Moreover, contrary to Neofonie’s assertions, Artissimo does
20    not have possession of or access to these documents. As a result, all
21    testimony based on documents that Neofonie has refused to produce should
22    be excluded from trial.
23
      1
        The Exhibits are: (1) Exhibit F – Artissimo’s First Set of Requests for
24    Production of Documents and Things; (2) Exhibit G – Dec. 24, 2018 email
25    from S.Emanuel to K.Ingram; and (3) Exhibit H – Declaration of Kimberly
      M. Ingram, which authenticates Exhibits F and G and provides additional
26    factual information. These Exhibits are labeled consecutive to the Motion.
27
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 1                                II.    ARGUMENT
 2             Neofonie has failed to establish why any of its proposed expert’s
 3    opinions are admissible. Neofonie’s extolment of Dr. Khoshgazaran’s
 4    general credentials does not establish the basic prerequisites for his
 5    testimony to be offered in this case. As the proponent of the evidence,
 6    Neofonie bears the burden of establishing its admissibility. See In re
 7    Silicone Gel Breast Implants Prod. Liab. Litig., 318 F. Supp. 2d 879, 889
 8    (C.D. Cal. 2004) (“The proponent of the expert testimony has the burden of
 9    establishing by a preponderance of the evidence that the admissibility
10    requirements are met.”) (citing Fed. R. Evid. 702). Neofonie has failed to
11    satisfy its burden, and Dr. Khoshgazaran’s opinions should be excluded,
12    for the reasons stated in the Motion and as explained further below.
13    A.       Dr. Khoshgazaran’s First Opinion Should Be Excluded.
14             In its Motion, Artissimo argued that Dr. Khoshgazaran’s first
15    opinion—that Artissimo “failed to conform to important principles of Agile
16    software development and MVP launch,” resulting in “unnecessary delays
17    in development of the Website” (Dkt. 44-1 [Mot. Ex. A, Expert Rep.] at
18    ¶ 90)—should be excluded because it is not reliable or relevant. (Dkt. 44-6
19    [Def.’s Mem.] at 5–8.)2           In response, Neofonie argues that Dr.
20    Khoshgazaran’s opinion is the result of reliable principles and that the jury
21    will benefit from Dr. Khoshgazaran’s explanation of industry standards.
22    (Dkt. 52 at 6–10.) Not so.
23
24    2
         For clarity, all references to Artissimo’s Motion [Dkt. 44] or
25    Memorandum [Dkt. 44-6] and Neofonie’s Response in Opposition thereto
      (“Response”) [Dkt. 52] are to the page number of the document itself,
26    rather than the ECF-generated header.
27
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 1                     1.   The First Opinion Is Not Reliable.
 2             Artissimo’s Motion pointed out that Dr. Khoshgazaran based his
 3    opinion of Artissimo’s approach to the Project on one out of 46 features
 4    required in the Agreement.       (Dkt. 44-6 at 6.) Indeed 21 out of 29
 5    paragraphs devoted to this opinion discuss this feature exclusively, and the
 6    remaining eight paragraphs are simply summaries of the materials Dr.
 7    Khoshgazaran reviewed and his conclusions. (Dkt. 44-1 at ¶¶ 95–123
 8    (discussing opinion #1).)        In response, Neofonie argues that Dr.
 9    Khoshgazaran relied on more than just his analysis of the one feature—in
10    particular, his experience in the arena, “relevant documents produced in
11    this case,” and authorities from the field. (Dkt. 52 at 10.)
12             As a threshold matter, Dr. Khoshgazaran’s experience goes to his
13    qualification as an expert; it does not establish that this opinion is reliable.
14    (Contra Dkt. 52 at 9.) And while Dr. Khoshgazaran certainly states that his
15    opinions are based on “scientific literature, authoritative texts, and other
16    references in the field of the claimed technologies, where cited in this
17    report” (Dkt. 44-1 at ¶ 13 (emphasis added)), he does not cite any such
18    texts with respect to the first opinion. Thus, it is logical to conclude that
19    his opinion is not based on such authorities.          (Even if it were, the
20    application of such authorities to this case would have to be reliable, which
21    Neofonie has not attempted to establish.)
22             This leaves the documents supposedly “produced in this case”3 as the
23    basis for Dr. Khoshgazaran’s first opinion.         But Dr. Khoshgazaran’s
24    analysis in his own report involves only documents related to one feature—
25
      3
        As explained in Part II.E, while these documents may have been produced
26    to Dr. Khoshgazaran, many of them were not produced to Artissimo.
27
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 1    this is what makes it fundamentally unreliable. (See Dkt. 44-6 at 6.) Even
 2    if Dr. Khoshgazaran also reviewed other materials as Neofonie contends,
 3    those materials are not the stated basis of his analysis.      Instead, Dr.
 4    Khoshgazaran walks through the development and history of one feature,
 5    in detail, and then extrapolates his conclusion to the project as a whole.
 6    (Dkt. 44-1 at ¶¶ 99–123.)        Lastly, even the minimal documents Dr.
 7    Khoshgazaran might cite, were not produced by Neofonie in this matter,
 8    despite repeated requests from Artissimo.          Contrary to Neofonie’s
 9    suggestions, Artissimo must conclude that Dr. Khoshgazaran based his
10    entire opinion on his analysis of that single feature based upon documents
11    which were not produced. Such a sample is not reliable as a matter of law,
12    and the first opinion should be excluded for this reason alone. (See Dkt.
13    44-6 at 6.)
14                     2.   The First Opinion Is Not Helpful to the Trier of Fact.
15             Artissimo also argued that Dr. Khoshgazaran’s first opinion should
16    be excluded because, since the Agreement governs the meaning of the
17    specialized terms at issue, Dr. Khoshgazaran’s soliloquy of industry
18    standards does not relate to any issue in the case. (See Dkt. 44-6 at 6–7.)
19             In response, Neofonie argues that this testimony is helpful because
20    members of the jury will likely be unfamiliar with the technical terms in
21    the Agreement. (Dkt. 52 at 10.) Artissimo agrees that members of the jury
22    will not be familiar with these terms.       That is why it is particularly
23    important not to allow an “expert” to define the terms in a manner that is
24    inconsistent with the Agreement. The jury will be more likely to defer to
25    an expert’s inconsistent testimony on a subject that is not familiar to it.
26    See, e.g., Hernandez v. City of Vancouver, 2009 WL 279038, at *5 (W.D.
27    Wash. Feb. 5, 2009) (excluding opinion that was “unlikely to assist the jury
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  1    and runs the risk that the jury will pay unwarranted deference to [the
  2    expert’s] expertise”); S. Yuba River Citizens League v. Nat’l Marine
  3    Fisheries Serv., 257 F.R.D. 607, 613 (E.D. Cal. 2009) (recognizing that
  4    “[j]uries, however, often defer to an expert’s testimony without developing
  5    their own understanding of it”); U.S.A. v. Cruikshank, No. CR 04-836-
  6    GHK, 2006 WL 8439699, at *8 (C.D. Cal. May 5, 2006) (“Without
  7    sufficient evidence to apply [the expert’s] testimony to the facts of the case,
  8    a jury may be inclined to fill the gap with speculation, undue deference to
  9    the expert’s opinion, or by inferring that the subject of the expert’s
10     testimony is in fact the ultimate issue in the case.”).
11              Moreover, Neofonie fails to respond to Artissimo’s central
12     argument: the Agreement explains exactly what is required for this MVP,
13     and therefore no testimony as to the industry standard is needed. (See Dkt.
14     44-6 at 6–7.)      Neofonie cites no authority for the idea that industry
15     standards are relevant where the contract clearly defines the terms at issue,
16     and such a position is inconsistent with California law. See Cal. Civ. Code
17     §§ 1638, 1644. And Neofonie has provided no reason to believe that the
18     contract does not adequately define the relevant terms. As such, industry
19     usage is not admissible.
20              Neofonie contends that “Dr. Khoshgazaran’s opinions regarding an
21     MVP are consistent with the Phase II Agreement,” on the basis that “[h]is
22     analysis uses the features defined in the MVP to show how far . . .
23     Defendant strayed during development.”          (Dkt. 52 at 10.) However,
24     Neofonie makes this conclusory argument without addressing Dr.
25     Khoshgazaran’s stated opinion that the Agreement itself is not consistent
26     with MVP and Agile development principles—an issue Artissimo pointed
27     out in its Motion. (Dkt. 44-1 at ¶¶ 100, 104–06; Dkt. 44-6 at 7.) Dr.
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  1    Khoshgazaran’s own statements demonstrate that his definitions and
  2    opinions are not consistent with the Agreement, which apparently included
  3    more features than Dr. Khoshgazaran believes to be appropriate for an
  4    MVP. Such inconsistent opinions are confusing, not helpful, for the jury,
  5    and should be excluded under both Rule 403 and Rule 702.
  6    B.       Dr. Khoshgazaran’s Second and Third Opinions Should Be
  7             Excluded as Moot.
  8             Dr. Khoshgazaran’s expert report specifically states that he provided
  9    his second and third opinions to rebut Artissimo’s assertions that “Neofonie
10     failed to implement best practices” and “accrued unnecessary hours in
11     developing the Website.” (Id. at ¶¶ 124, 127.) Artissimo is not pursuing
12     those theories at trial and therefore has argued that these rebuttal opinions
13     should be excluded.         (Dkt. 44-6 at 8–9.)      Neofonie admits that Dr.
14     Khoshgazaran’s second and third opinions “contradict[ ]” allegations that
15     Artissimo has abandoned, but contends that they are still admissible. (Dkt.
16     52 at 14.) As explained below, this is not the case.
17                      1.   The Second and Third Opinions Are Not Relevant for
18                           Another Purpose.
19              “It is well established that expert testimony is not helpful if it simply
20     addresses lay matters which the jury is capable of understanding and
21     deciding without the expert’s help.” McClellan v. I-Flow Corp., 710 F.
22     Supp. 2d 1092, 1136 (D. Or. 2010); see also In re Apollo Grp. Inc. Sec.
23     Litig., 527 F. Supp. 2d 957, 961–62 (D. Ariz. 2007) (“[E]xpert testimony is
24     inadmissible if it concerns factual issues within the knowledge and
25     experience of ordinary lay people, because it would not assist the trier of
26     fact in analyzing the evidence.”). Generally, an expert may not testify as to
27     the meaning of a contract, although the expert may testify to the industry
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  1    usage where there is a “need to clarify or define terms.” Pac. Fuel Co.,
  2    LLC v. Shell Oil Co., 2008 WL 11336467, at *3 (C.D. Cal. Jan. 24, 2008)
  3    (internal quotation omitted). Such a need exists where the contract is
  4    ambiguous. See Cal. Civ. Code §§ 1638, 1644, 1645; see also Driskill Agr.
  5    Servs. Inc. v. Dimare Fresh Inc., 2015 WL 464373, at *2 (D. Ariz. Feb. 4,
  6    2015) (explaining that expert testimony as to industry custom is admissible
  7    “where, as here, a contractual term is ambiguous”).
  8             Neofonie argues that, despite Artissimo’s abandonment of the
  9    contentions that the second and third opinions rebut, these opinions “are
10     still relevant as they will demonstrate how the timeline evolved by the
11     agreement of the parties and how this evolution affected the original
12     preliminarily proposed time for delivery,” as well as Neofonie’s “effort to
13     accommodate Defendant’s unreasonable changes” that were beyond the
14     scope of the Phase II Agreement. (Id.) Neofonie does not explain how Dr.
15     Khoshgazaran’s second and third opinions even relate to these issues.
16              But even if Neofonie explained this critical connection, Neofonie’s
17     argument would still be fatally flawed.        Based on Neofonie’s own
18     descriptions, the purpose of offering the second and third opinions is to
19     “demonstrate” its factual evidence to the jury—not to offer a proper expert
20     opinion that aids the jury in its evaluation of the evidence.        Indeed,
21     Neofonie fails to explain why expert testimony is necessary to
22     “demonstrate how the timeline evolved by the agreement of the parties” or
23     how this affected the original deadline4 for delivery. Those are simply
24
25
       4
         This appears to be a dispute of fact between the parties. Neofonie treats
26     the deadline in the Contract as a preliminary proposal; Artissimo believes it
27                                        (footnote continued on following page …)
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  1    factual issues “within the knowledge and experience of ordinary lay
  2    people.” See In re Apollo Grp., 527 F. Supp. 2d at 961–62. There is no
  3    reason to believe a jury needs expert assistance in determining what the
  4    parties agreed to or how this affected the timeline of the Project.
  5             Likewise, Neofonie does not explain why expert testimony is helpful
  6    to the jury in demonstrating Neofonie’s “effort to accommodate
  7    Defendant’s unreasonable changes” that were beyond the scope of the
  8    Phase II Agreement. Dr. Khoshgazaran does not have personal knowledge
  9    of Neofonie’s efforts; thus, as explained further below, his testimony
10     cannot be used to establish the facts of what efforts Neofonie made to
11     accommodate Artissimo’s requests for changes. And the Agreement itself
12     determines whether changes are beyond its scope. No expert analysis is
13     needed to determine the scope of a contract, at least when the terms are
14     defined by the contract itself. See Pac. Fuel Co., 2008 WL 11336467, at
15     *3; Driskill Agr. Servs. Inc., 2015 WL 464373, at *2. Thus, these opinions
16     should be excluded.
17                      2.   The Court Should Also Exclude These Opinions
18                           Because Neofonie Cannot Introduce Foundational
19                           Facts Through an Expert in Lieu of Lay Testimony.
20              As stated in the Motion, much of Dr. Khoshgazaran’s analysis for
21     these two opinions consists of summarizing documentary evidence. (Dkt.
22     44-6 at 9 (citing Dkt. 44-1 at ¶¶ 125, 129, 132, 134, 139).) Indeed,
23     Neofonie’s Response correctly describes “Dr. Khoshgazaran’s analysis” as
24
25     (… footnote continued from previous page)
       was, in fact, a deadline for performance that could only be extended
26     through agreement of the parties.
27
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  1    “detail[ing]” the evidence he reviewed. (Dkt. 52 at 14.) Due to this
  2    excessive summarizing, Artissimo therefore moved that, if Dr.
  3    Khoshgazaran was permitted to testify to his second and third opinions, the
  4    Court not allow Dr. Khoshgazaran to testify to these facts in lieu of
  5    presenting witnesses with firsthand knowledge.         (Dkt. 44-6 at 9.) In
  6    response, Neofonie argues that “an expert witness is permitted wide
  7    latitude . . . to offer opinions, including those that are not based on
  8    firsthand knowledge or observation.” (Dkt. 52 at 11.)
  9             Neofonie’s argument ignores the point. Artissimo asked that Dr.
10     Khoshgazaran not be permitted “to testify to any facts that Neofonie has
11     not established through the testimony of other witnesses.” (Dkt. 44-6 at 9.)
12     While Dr. Khoshgazaran can base his opinions on things other than
13     firsthand knowledge, he is not competent to introduce such factual
14     assertions into evidence in the first instance. (See id. (citing authorities).)
15              Tellingly, Neofonie’s Response does not make the obvious
16     concession to resolve this dispute: Neofonie does not commit to establish
17     the foundational facts through its own employees (or Artissimo’s
18     employees). This suggests that Neofonie does, in fact, intend to introduce
19     the facts through Dr. Khoshgazaran himself, despite his lack of personal
20     knowledge. In the interest of efficiency and avoiding the prejudice of the
21     jury hearing an opinion that lacks appropriate foundation, the Court should
22     prohibit this improper practice prior to trial. See, e.g., Johnson v. Gen.
23     Mills Inc., 2012 WL 13015023, at *1 (C.D. Cal. May 7, 2012) (motions in
24     limine avoid “the futile attempt to unring the bell”) (internal quotation
25     omitted).
26
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  1    C.      Dr. Khoshgazaran’s Fourth Opinion Should Be Excluded
  2            Because It Is Neither Reliable Nor Helpful.
  3             As explained in the Motion, Dr. Khoshgazaran’s “fourth opinion”
  4    contains two separate opinions: (1) Artissimo “did not accurately represent
  5    the severity of several bugs that were discovered in the course of
  6    developing the Website as well as [Neofonie’s] approach in addressing or
  7    resolving such bugs” (Dkt. 44-1 at ¶ 93) and (2) “[a] delay of about a
  8    month is very common for a project of this magnitude.” (id. at ¶ 151.)
  9    Artissimo responds to Neofonie’s arguments for each separately below.
10                      1.   The Opinion as to Whether Artissimo Accurately
11                           Represented the Severity of Bugs is Not Reliable or
12                           Helpful.
13              Neofonie declares that Dr. Khoshgazaran’s “fourth opinion” is not
14     “an opinion as to the workability of the MVP delivered by Neofonie.”
15     (Dkt. 52 at 15.) But whether the bugs were severe enough to impair the
16     function of the website is simply another way of stating whether the
17     website was functional. Neofonie appears to agree that testing would be
18     necessary for Dr. Khoshgazaran to offer an opinion as to whether the
19     website was “workable” and that he did not perform such testing. (Id. at
20     11–12.) As there is no meaningful difference between these conclusions,
21     and as Neofonie concedes that Dr. Khoshgazaran did not test the website,
22     his fourth opinion should therefore be excluded on this basis alone.
23              Moreover, Neofonie contends that Dr. Khoshgazaran’s fourth
24     opinion is about “what conclusions are consistent with the sources of
25     information reviewed”: relevant agreements, discovery responses, and
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  1    communications between the parties. 5 (Dkt. 52 at 12.) Although Neofonie
  2    contends otherwise, this is a simple credibility determination.          By
  3    Neofonie’s own admission, Dr. Khoshgazaran has relied exclusively on the
  4    communications and agreements between the parties; thus, he is doing
  5    nothing more than determining who he believes has accurately represented
  6    the severity of the bugs and Neofonie’s responses thereto. Cf. Actuate
  7    Corp. v. Aon Corp., 2012 WL 2285187, at *1 (N.D. Cal. June 18, 2012)
  8    (“An expert cannot tell the jury whose version of events is truthful.”). The
  9    fact that Dr. Khoshgazaran “quotes verbatim” (Dkt. 52 at 12), selectively,
10     from the documents does not change the nature of his analysis. Because
11     this testimony cannot help the jury, it should be excluded.
12                      2.   The Opinion as to Whether a Delay of One Month Is
13                           Common Is Not Helpful.
14              Neofonie’s argument as to the admissibility of Dr. Khoshgazaran’s
15     opinion that a delay of about a month is common does not make sense.
16     (Dkt. 52 at 12–13.) Artissimo’s reference in its Counterclaim to a delay of
17     approximately a year refers to the effect of being forced to abandon the
18     project with Neofonie and start anew—not that Neofonie itself delivered
19     the project a year late. Dr. Khoshgazaran does not offer an opinion as to
20     how long it would have reasonably taken Artissimo to start over, nor could
21     he reliably testify to Artissimo’s business realities. Thus, this opinion
22     cannot be admissible on that basis.
23
       5
         As stated in the prior section, it is not proper for Dr. Khoshgazaran
24     himself to introduce these foundational facts. To the extent that Neofonie
25     does not establish the foundational facts through the testimony of
       appropriate witnesses with personal knowledge, this opinion should be
26     excluded at trial.
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  1             Similarly, Neofonie’s secondary argument demonstrates the problem
  2    with this opinion. Neofonie argues that the opinion is admissible to show
  3    “why the timeline was preliminary, that it was not unusual for the launch
  4    date to be put back, and that a launch date put back by one month or so is
  5    common therefore may not have a material breach . . . .” (Id. at 13.) But
  6    the Contract between the parties—not the industry standard—determines
  7    whether a timeline is preliminary or constitutes a final deadline and
  8    whether failure to meet that deadline is a material breach. See supra Part
  9    II.B.1. Neofonie has cited no authority for the proposition that it should be
10     allowed to introduce “expert” testimony that the parties’ written Agreement
11     directly contradicts.    Neofonie’s request is directly contrary to well-
12     established law.
13     D.      Dr. Khoshgazaran’s Fifth Opinion Should Be Excluded Because
14             It Is Not Helpful.
15              In its Motion, Artissimo explained that Dr. Khoshgazaran’s
16     “analysis” with respect to his fifth opinion “is essentially a summary of the
17     documentary evidence in this case presented in a light favorable to
18     Neofonie” and, because such analysis is within the capability of the jury,
19     this is not proper expert testimony under Rule 702. (Dkt. 44-6 at 11–12.)
20     Additionally. Artissimo asserted that, due to the risk of the jury weighing
21     Dr. Khoshgazaran’s opinion disproportionately simply because he is
22     labeled as an expert, any limited probative value of introducing this opinion
23     was far outweighed by the prejudice to Artissimo, and the evidence should
24     therefore be excluded under Rule 404. (Id. at 12.) In response, Neofonie
25     argues that “[t]he purpose of Dr. Khoshgazaran’s fifth opinion is to assist
26     the jury in understanding how the delays occurred in this Project which
27     Defendant is attempting to misrepresent” and “[r]evealing the facts that he
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  1    relied on in forming his opinions is not a basis to exclude his testimony.”
  2    (Dkt. 52 at 13.)
  3             Neofonie misses the point.       The problem is not that Dr.
  4    Khoshgazaran “reveal[s] the facts that he relied on.” The problem is that
  5    Dr. Khoshgazaran does not have the capacity to establish those facts
  6    because he lacks personal knowledge (see supra Part II.B.2) and his
  7    analysis consists of nothing more than his personal interpretation of that
  8    evidence. Neofonie does not explain how Dr. Khoshgazaran’s expertise
  9    assists the jury in “understanding how the delays occurred” or even why
10     expert testimony is, in general, needed to understand the concept of delays
11     in a project.     Indeed, even the language that Neofonie uses—“which
12     Defendant is attempting to misrepresent” (Dkt. 52 at 13)—suggests that
13     this issue is a credibility determination for the jury. Neofonie has failed to
14     meet its burden of establishing the admissibility of Dr. Khoshgazaran’s
15     testimony, and the fifth opinion should therefore be excluded.
16     E.       Neofonie Should Not Be Permitted to Rely on Documents It Has
17              Not Produced.
18              In its primary brief, Artissimo argued that “Neofonie should not be
19     permitted to rely upon, or introduce expert testimony that relies upon,
20     documents that it has not even produced in this litigation.” (Dkt. 44-6 at
21     13.) The proposition is not a controversial one; parties are, of course,
22     regularly prohibited from relying on documents that they have not been
23     produced in discovery. (See id.)
24              In response, Neofonie does not argue that it provided all of the
25     documents that its expert relied upon or even that Artissimo failed to
26     request such documents. Instead, Neofonie makes an extraordinary
27     argument: that it is not required to produce the documents it provided to its
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  1    expert, on the basis that Artissimo could have asked the expert for such
  2    documents.6 That simply is not the case under the Federal Rules of Civil
  3    Procedure. As explained below, Artissimo requested these documents and
  4    Neofonie was obligated to produce them, and Artissimo does not have the
  5    requested documents.        Neofonie should therefore be prohibited from
  6    relying on documents it has refused to produce.
  7                     1.   Neofonie Had an Obligation to Produce Responsive
  8                          Documents in Its Possession, Custody, or Control.
  9             Rule 34(a) allows a party to obtain “items in the responding party’s
10     possession, custody, or control.” Fed. R. Civ. P. 34(a)(1). “[F]ederal
11     courts have consistently held that documents are deemed to be within a
12     party’s ‘possession, custody or control’ for purposes of Rule 34 if the party
13     has actual possession, custody, or control, or has the legal right to obtain
14     the documents on demand.” Bail Busters, Inc. v. Sterling, 2011 WL
15     13269703, at *3 (C.D. Cal. Oct. 13, 2011) (internal quotations omitted).
16     “Accordingly, a party has an obligation to conduct a reasonable inquiry
17     into the factual basis of his responses to discovery, and, based on that
18     inquiry, a party responding to a Rule 34 production request is under an
19     affirmative duty to seek that information reasonably available to it from its
20     employees, agents, or others subject to its control.” Id. (internal quotations
21     omitted).
22              Neofonie has cited no authority for the proposition that documents
23
       6
24       Neofonie also argues that Artissimo could have deposed Dr.
       Khoshgazaran, but did not. (Dkt. 52 at 14.) This is clearly a red herring.
25     A party is not required to conduct a deposition of an expert to receive
26     documents in possession of the other party that relate to that expert.
27
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  1    are exempt from this general principle of federal procedure simply because
  2    they pertain to an expert. In fact, “[a] party may use Rule 34 to seek
  3    discovery concerning expert opinions in addition to the disclosures
  4    required by Rule 26(a).” Santos v. TWC Admin. LLC, 2014 WL 12558009,
  5    at *4 n.36 (C.D. Cal. Aug. 4, 2014); see also Silgan Containers v. Nat'l
  6    Union Fire Ins., 2011 WL 1058861, at *6 (N.D. Cal. Mar. 23, 2011)
  7    (requiring a party to turn over information about an expert that is in its
  8    possession and “strongly encourag[ing]” it to obtain any information not in
  9    its possession from its expert).
10              Artissimo’s Motion made clear that the documents at issue here were
11     properly requested in discovery. (Dkt. 44-6 at 12–13.) Neofonie does not
12     dispute that they were requested and does not deny that it has possession,
13     custody, and/or control of the documents. Moreover, there can be no doubt
14     that the documents are responsive—Neofonie gave the documents to its
15     expert to consider and rely upon in formulating his expert opinion. Despite
16     all this, Neofonie has refused to produce these very documents to
17     Artissimo.
18              Of course, to the extent that Neofonie did not have possession,
19     custody, or control of certain documents, it could (and should) have stated
20     that. It did not do so. Although Neofonie now attempts to suggest that
21     only the expert could identify some responsive documents (Dkt. 52 at 14),
22     that argument makes absolutely no sense with respect to many of the
23     documents requested. For example, Artissimo asked for the documents
24     that Neofonie and its counsel gave to its expert. (Dkt. 44-6 at 13 (citing
25     Dkt. 44-3 at 7).) And the documents that are the heart of this issue—the
26     documents from JIRA—are documents from Neofonie’s own system. It is
27     therefore clear that Neofonie had possession of the responsive documents
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  1    and had an absolute obligation to produce the same. For Neofonie to
  2    simply argue that Artissimo should have served a third-party subpoena on
  3    its expert is directly contrary to the Federal Rues of Civil Procedure.
  4             Notably, Neofonie would have been required to produce these
  5    documents even if it had not obtained an expert.           These documents
  6    constitute communications between the parties that were the subject of
  7    Artissimo’s First Set of Requests for Production of Documents and Things,
  8    served in January 2018. (See Ex. F at 7, 9–10 (Request Nos. 3, 4, 9, 13,
  9    and 14); Ex. H [Ingram Decl.] at ¶¶ 3–4.) When Artissimo received the
10     Expert Report, it became clear that not all such documents had been
11     produced in response to the First Set of Requests. Thus, in case Neofonie’s
12     obligation was not clear to Neofonie, Artissimo served more specific
13     discovery requests to avoid all doubt. (Dkt. 44-3 [Mot. Ex. C] at 7, 9.)
14              As a final matter, although this argument is not made in the
15     Response, Neofonie’s counsel states that “Defendant also requested very
16     late in the discovery process that Neofonie produce the JIRA tickets
17     reviewed by its expert, Dr. Khoshgazaran, in preparing his Report” and
18     goes on to explain why he believes Artissimo’s discovery requests were
19     procedurally improper. (Dkt. 52-1 at ¶ 7.) Counsel’s use of his declaration
20     for argument is not permissible under Local Rules, which require that
21     “[d]eclarations shall contain only factual, evidentiary matter . . . .” L.R. 7-
22     7. Artissimo believes argument made in the declaration should be
23     disregarded. To the extent that the Court nevertheless sees fit to consider
24     these allegations, Artissimo notes that its Second Set of Requests were
25     served timely—approximately one month after Artissimo received the
26     Expert Report (which required it to re-review the documents in its
27     possession) and more than one month prior to the close of discovery. The
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  1    fact that these Requests were served near the deadline does not relieve
  2    Neofonie of its obligation to produce responsive documents.
  3                     2.   Artissimo Does Not Have, or Have Access to, the
  4                          Responsive Documents.
  5             In addition to arguing that it is not obliged to produce responsive
  6    documents, Neofonie argues that Artissimo already has the documents or
  7    has the ability to retrieve them. This is not the case.
  8             First, Artissimo does not have access to JIRA. Neofonie asserts that
  9    Artissimo “has (or should have) access to all the JIRA tickets created
10     during the development of the MVP as it used JIRA to communicate with
11     Neofonie.” (Dkt. 52 at 14.) Neofonie further asserts that: “In good faith
12     and without having any obligation to do so, Neofonie has reminded
13     Defendant that it has access to JIRA and can print out any tickets identified
14     by Dr. Khoshgazaran in his report.” (Id. at 15.) Artissimo notes that this
15     “reminder” was given on the same day Neofonie filed its Response:
16     December 24, 2018.          (Ex. G [Dec. 24, 2018 email from Neofonie’s
17     counsel]; Ex. H [Ingram Decl.] at ¶¶ 19–20.) When Artissimo and its
18     counsel attempted to access JIRA on December 26, 2018, they were unable
19     to do so and received a message that the “server IP address could not be
20     found.” (Id. at ¶¶ 22–25.) Thus, Artissimo cannot “log on to JIRA and
21     download each and every ticket to which Dr. Khoshgazaran refers in his
22     Report.” (Dkt. 52 at ¶ 14.) And even if it could, such access would not
23     relieve Neofonie of its obligation to identify the documents that it has
24     provided to its expert. 7
25
       7
        Notably, Neofonie’s responses to Artissimo’s Second Set of Requests for
26     Production of Documents and Things (Dkt. 44-4 [Mot. Ex. D]) neither
27                                     (footnote continued on following page …)
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  1             Second, Neofonie has not produced, and has not argued that it has
  2    produced, all of the responsive documents.          Neofonie argues that it
  3    “produced physical copies of the JIRA tickets which were contained in the
  4    project folders and a breakdown of every JIRA ticket created during the
  5    project.” (Dkt. 52 at 14.) A careful read of this assertion reveals that it is
  6    not an assertion that Neofonie actually produced all of the responsive
  7    documents.       Instead, it is an assertion it produced some responsive
  8    documents (presumably in response to the First Set of Requests for
  9    Production of Documents and Things or Artissimo’s search terms, since
10     Neofonie has not produced documents since Artissimo served its Second
11     Set of Requests (Ex. H [Ingram Decl.] at ¶¶ 12, 30).). Neofonie appears to
12     assert that it produced an unknown number of tickets that happened to be
13     stored in a particular location and a spreadsheet summarizing the tickets.
14     (Dkt. 52 at 14.) Neofonie does not bother to identify, by Bates label or
15     otherwise, what documents it believes fit this description. (See id.) Based
16     on Neofonie’s representations, Artissimo’s counsel conducted yet another
17     search and confirmed that responsive documents, relied upon by the expert,
18     were not produced by Neofonie. (Ex. H [Ingram Decl.] at ¶¶ 26–28.)
19              The fact that Neofonie produced some documents—of its
20     choosing—does not satisfy its obligation to produce the remainder. As
21     explained above, Artissimo is entitled to all of the documents responsive to
22
23     (… footnote continued from previous page)
       assert that Artissimo already has these documents in its possession nor
24     mention access to JIRA. If this were the basis of Neofonie’s refusal to
25     produce documents, disclosure of this fact would be required by Federal
       Rule of Civil Procedure 34. It is thus clear that this was not a basis for
26     Neofonie’s refusal to produce documents.
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  1    its Second Set of Requests, particularly those that Neofonie provided to its
  2    expert.
  3                                        ***
  4             Based on Neofonie’s Response, it appears that Neofonie no longer
  5    intends to fulfill its undisputed8 commitment to produce responsive
  6    documents. Because Neofonie has failed to produce responsive documents
  7    in accordance with Rule 26 of the Federal Rules of Civil Procedure,
  8    Neofonie should be precluded from relying on such documents at trial.
  9                               III.    CONCLUSION
10              For the foregoing reasons, the proposed expert testimony of Ali
11     Khoshgazaran, Ph.D., should be excluded or, at the least, limited to ensure
12     relevance and reliability and to prevent reliance on documents that have not
13     been produced in the litigation.
14
15     Dated: December 27, 2018
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24     8
         Artissimo asserted this agreement in its Motion. (Doc. 44-5 at ¶ 13; Doc.
25     44-6 at 13.) Neofonie’s counsel does not refute that he made such a
       commitment, and this fact is thus undisputed. Artissimo relied on this
26     representation in not seeking the Court’s relief prior to filing the Motion.
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  1                               Respectfully submitted,
  2
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  1                            CERTIFICATE OF SERVICE
  2             I, Kimberly M. Ingram, do hereby certify that on this 27th day of
  3    December, 2018, a true and correct copy of the foregoing document is
  4    being forwarded to the individual listed below in the manner indicated:
  5
  6                     Via CM/ECF System
                        Sacha V. Emanuel, Esquire
  7                     Raphael B. Emanuel, Esquire
  8                     Emanuel Law
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  9
                        Los Angeles, California 90067
10
                                             /s/ Kimberly M. Ingram
11
                                            Kimberly M. Ingram, Esq.
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